                   Case 3:21-cv-05170-RJB Document 1 Filed 03/10/21 Page 1 of 3



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 8                                       IN THE UNITED STATES DISTRICT COURT

 9                                FOR THE WESTERN DISTRICT OF WASHINGTON

10                                                            AT TACOMA

11   JERRY HILL,
                                                                          No. 3:21-cv-5170
12                                               Plaintiff,
                                                                          NOTICE OF REMOVAL TO
13                          vs.                                           FEDERAL COURT

14   SAFEWAY, INC., a foreign profit
     corporation,
15
                                                 Defendant.
16

17              Please take notice that Defendant Safeway Inc. hereby removes to the United

18   States District Court for the Western District of Washington the action described below.

19   On September 28, 2020, Defendant Safeway Inc.’s agent for service of process received

20   a summons (Attachment 1) and complaint (Attachment 2) in an action entitled Jerry Hill

21   v. Safeway, Inc., Pierce County Superior Court No. 20-2-07773-4. The first date upon

22   which Safeway Inc. received a copy of this complaint was September 28, 2020.

23              The complaint does not specify the amount of damages being claimed by the

24   Plaintiff and it is not apparent from the complaint whether the amount of damages sought

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     NOTICE OF REMOVAL TO                                                             Turner Kugler Law, PLLC
     FEDERAL COURT - 1                                                                 6523 California Ave SW #454
     R :\6917\P LE A D IN G S \rem oval.notice.fed.wpd                                      Seattle, WA 98136
                                                                                             (206) 659-0679
                   Case 3:21-cv-05170-RJB Document 1 Filed 03/10/21 Page 2 of 3



 1   would be greater than the minimum jurisdictional amount for this court. Safeway

 2   propounded a request for a statement of damages which asked Plaintiff to disclose the

 3   damages Plaintiff is claiming in this matter. On March 4, 2021, Plaintiff provided Safeway

 4   with a statement of damages claiming $109,853.32 in damages.

 5              There is complete diversity because the Plaintiff is a citizen of the State of

 6   Washington and Defendant Safeway Inc. is a corporation organized under the laws to

 7   the State of Delaware with its principle place of business in the State of California.

 8              This court has original jurisdiction over this action pursuant to 28 U.S.C. §1332(a)

 9   because it is between citizens of different states and the amount in controversy exceeds

10   $75,000. This claim is removable to federal court by the defendant pursuant to 28 U.S.C.

11   §1441 based on diversity jurisdiction.

12              A jury trial has been demanded (Attachment 3)

13                                                   INTRADISTRICT ASSIGNMENT

14              The case was filed in Pierce County so LCR 3(e) indicates it will be initially

15   assigned to a Tacoma Judge.

16              A civil case cover sheet is attached as Attachment 4.

17              Dated: March 10, 2021.

18                                                        TURNER KUGLER LAW, PLLC

19                                                        By:      s/ John T. Kugler
                                                             John T. Kugler, WSBA # 19960
20                                                           Attorney for Defendant

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     NOTICE OF REMOVAL TO                                                           Turner Kugler Law, PLLC
     FEDERAL COURT - 2                                                               6523 California Ave SW #454
     R :\6917\P LE A D IN G S \rem oval.notice.fed.wpd                                    Seattle, WA 98136
                                                                                           (206) 659-0679
                    Case 3:21-cv-05170-RJB Document 1 Filed 03/10/21 Page 3 of 3



 1                                                        CERTIFICATE OF SERVICE

 2           I hereby certify that on March 10, 2021, I electronically filed the foregoing with the Clerk of the Court
     using the CM/ECF system which will send notification of such filing to the following:
 3
                 none
 4
     and I hereby certify that I have m ailed by United States Postal Service the docum ent to the following non-
 5   CM/ECF participants:

 6               Attorney for Plaintiff:
                 Dexter L. Callahan
 7               Van Siclen, Stocks & Firkins
                 721 45th St. NE
 8               Auburn, W A 98002-1381
                 dexterc@ vansiclen.com
 9
                                                                 s/ John T. Kugler
10                                                           JOHN T. KUGLER, W SB #19960
                                                             Attorney for Defendant Safeway Inc.
11                                                           TURNER KUGLER LAW , PLLC
                                                             6523 California Ave SW #454
12                                                           Seattle, W A 98136-1833
                                                             Telephone: (206) 659-0679
13                                                           E-m ail: john@ turnerkuglerlaw.com

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      NOTICE OF REMOVAL TO                                                                     Turner Kugler Law, PLLC
      FEDERAL COURT - 3                                                                            6523 California Ave SW #454
      R :\6917\P LE A D IN G S \rem oval.notice.fed.wpd                                                 Seattle, WA 98136
                                                                                                         (206) 659-0679
